                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

GEORGE MELVIN CANNON,                          )
                                               )
                                               )
         Plaintiff,                            )
                                               )
vs.                                            )       Case No. 18-00971-CV-W-GAF
                                               )
ROBERT A. MCDONALD, et al.,                    )
                                               )
         Defendants.                           )

                              JUDGMENT IN A CIVIL ACTION


9        Jury Verdict. This action came before the Court for a trial by jury. The issues have been
         tried and the jury has rendered its verdict.


:        Decision of the Court. This action came for consideration before the Court. The issues
         have been considered and a decision has been rendered.

       IT IS ORDERED that the Court lacks subject-matter jurisdiction to hear Plaintiff’s claims.
Further, all of Plaintiff’s pleadings are factually deficient. For these reasons and the reasons stated
above, Defendants’ Motion to Dismiss is GRANTED. 1 and Plaintiff’s Motions to Amend are
DENIED.



Dated:          October 1, 2019                PAIGE WYMORE-WYNN
                                                    Clerk of Court

Entered:        October 1, 2019                /s/ Lisa Mitchell
                                                        (By) Deputy Clerk




1
 On August 12, 2019, Plaintiff filed a Motion for Default Judgment. On September 13, 2019,
Plaintiff filed a Motion for Reversal. These motions are DENIED as moot.


           Case 4:18-cv-00971-GAF Document 44 Filed 10/01/19 Page 1 of 1
